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Control Micro Systems, Inc.         Allmotion                                 Blossman Gas of Louisiana
4420 Metric Drive, Suite A          5673 W. Las Posita Blvd.                  P.O. Box 1110
Winter Park, FL 32792               Pleasanton, CA 94588                      Ocean Springs, MS 39566




R.Scott Shuker, Esq                 ALRO GROUP                                BTX Global Logistics
Shuker & Dorris, P.A.               2505 N Forsyth Rd                         12 Commerce Drive
121 S. Orange Avenue                Orlando, FL 32807                         Shelton, CT 06484
Suite 1120
Orlando, FL 32801

600 Group Incorporated              AMAZON.COM                                CCS America, Inc.
4420 Metric Drive, Suite A          P.O. Box 81226                            10 State Street
Winter Park, FL 32792               Seattle, WA 98108                         Woburn, MA 01801




ACCESS I/O PRODUCTS, INC.           AMERICA'S OFFICE SOURCE                   CDW
10623 Roselle Street                706 TURNBULL AVENUE,STE 305               P. O. Box 75723
San Diego, CA 92121                 ALTAMONTE SPRINGS, FL 32701               Chicago, IL 60675-5723




Adams Air & Hydraulics              AZCO Corp.                                CH Robinson Worldwide Inc
904 South 20th St.                  26 Just Road                              Freightquote
Tampa, FL 33605                     Fairfield, NJ 07004                       P.O. Box 9121
                                                                              Minneapolis, MN 55480-9121



Air Centers of Florida, Inc.        Bank of America                           Clarion Safety Systems
7830 Kingspointe Pkwy               P.O. Box 15731                            190 Old Milford Road
Orlando, FL 32819                   Wilmington, DE 19886-5731                 Milford, PA 18337




AIRGAS USA, LLC                     Bank of America                           Clean Management
P.O. Box 532609                     P.O. Box 17237                            Environmental Group, Inc.
Atlanta, GA 30353-2609              Wilmington, DE 19886-7237                 915 Industriall Road
                                                                              Walterboro, SC 29488



Aisler Americas, Inc.               Bank of America, N.A.                     COGNEX
2093 Philadephia Pike #2610         Attn: Elizabeth M. Peck                   One Vision Drive
Claymont, PA 19703                  110 N. Wacker Drive                       Natick, MA 01760
                                    Mail Code: IL 4-110-10-04
                                    Chicago, IL 60606

ALLIED WIRE AND CABLE               BARCODES INC                              Collins Manufacturing
101 Kestrel Dr.                     200 W. Monroe St 10th Floor               672 Johns Road
Collegeville,, PA 19426             Chicago, IL 60606                         Apopka, FL 32703
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Craters & Freighters                Design Research Optics                  Exostar LLC
3718 Mercy Star Court               3 Cedar Rock Meadows                    P.O. Box 301003
Orlando, FL 32808                   East Greenwich, RI 02818                Los Angeles, CA 90030




Cross Technologies, Inc             DEX IMAGING                             FANUC ROBOTICS
4400 Piedmont Parkway               5109 W. Lemon Street                    3900 West Hamlin Rd
Greensboro, NC 27410                Tampa, FL 33609                         Rochester Hills, MI 48309




Crown Lift Trucks                   DIGI-KEY CORPORATION                    FASTSIGN
404 Sunport Ln #150                 P.O. Box 250                            915 E. Semoran Blvd
Orlando, FL 32809                   Thief River Falls, MN 56701-0250        Casselberry, FL 32707




CRYSTAL IMAGE TECHNOLOGIES          Duke Energy                             FEDEX
12650 W. 64th Ave.                  P.O. Box 1004                           P.O. Box 660481
Suite E-279                         Charlotte, NC 28201-1004                Dallas, TX 75266-0481
ARVADA, CO 80004



Crystal Springs                     Durabelt                                FUMEX
P.O. Box 660579                     3119 Scioto Darby Exec. Court           1150 Cobb Intn'l Place
Dallas, TX 75266-0579               Hilliard, OH 43026                      Kennesaw, GA 30152




CVI Laser LLC                       EAO                                     GEM GRAVURE
P.O. Box 742118                     One Parrott Dr                          112 School Street
Atlanta, GA 30374-2118              Shelton, CT 06484                       West Hanover, MA 02339




Damonco                             Edmund Optics, Inc.                     GRAINGER
P.O. Box 995                        101 E. Gloucester Pike                  1001 Douglas Ave
Salem, VA 24153                     Barrington, NJ 08007-1380               Altamonte Springs, FL 32714-2029




DATAPRO                             EMKA, INC                               Grid Connect, Inc.
933 NW 49TH ST                      1961 Fulling Mill Road                  1630 W. Diehl Rd
Seattle, WA 98107                   Middletown, PA 17057                    Naperville, IL 60563




DAVID RUSSEL ANODIZING              ErgoMart                                Gulf Controls
2501 McCracken Rd                   5200 E. Grand Ave.                      P.O. Box 15100
Sanford, FL 32771                   Dallas, TX 75223                        Tampa, FL 33684
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INDUSTRIAL MOTION CONTROL            MOUSER ELECTRONICS                    PJ POWDER LLC
dba DE-STA-CO Wheeling               1000 N. Mains St.                     1476 N. GOLDENROD RD
Wheeling, IL 30090                   Mansfield, TX 76063                   ORLANDO, FL 32807




IPG PHOTONICS CORPORATION            MSC INDUSTRIAL SUPPLY CO              Plunkett Cooney
50 Old Webster Road                  Dept. CH 0075                         101 N. Washington Square
Oxford, MA 01540                     Palatine, IL 60055-0075               Suite 1200
                                                                           Lansing, MI 48933



Keyence Corp. of America             MUTUAL OF OMAHA                       Precise Motion & Control Inc
100 West Cypress Creek Road          Payment Processing Center             5338 Van Dyke Road
Suite 890                            Omaha, NE 68103-2147                  Lutz, FL 33558
Fort Lauderdale, FL 33309



Keyence Corp. of America             NEW LIFE FACILITY SERVICES            Precision Fabrication Corp.
500 Park Blvd, Suite 200             P.O. Box 92749                        510 Church Street
Itasca, IL 60143                     LAKELAND, FL 33804                    Nokomis, FL 34275




Keyence Corp. of America             NEWARK element 14                     Radwell International, Inc.
Dept CHI 17128                       33190 Collection Center Dr.           111 Mount Holly Bypass
Palatine, IL 60055-7128              Chicago, IL 60693-0331                Lumberton, NJ 08048




Keyence Corp. of America             Orange County Tax Collector           RAND WORLDWIDE (Imaginit)
669 River Drive, Suite 403           301 S Robinson Avenue                 28127 Network Place
Elmwood Park, NJ 07407               Orlando, FL 32801                     Chicago, IL 60673-1281




L-COM / INFINITE                     Performance Feeders, Inc.             REXEL USA, Inc
Electronics International            P.O. Box 1067                         4150 N. John Young Pwky
17792 FITCH                          Oldsmar, FL 34677                     Orlando, FL 32804
IRVING, CA 92614



McMaster-Carr Supply Co.             PHASE 1 TECHNOLOGY CORP               RS Americas, Inc
1901 Riverside Parkway               44 W. JEFRYN BLVD                     7151 Jack Newell Blvd. South
Douglasville, GA 30135               DEER PARK, NY 11729                   Fort Worth, TX 76118-7037




Motion AI Industries                 Photonics Industries                  SAGER ELECTRONICS
7350 Golden Triangle Drive           1800 Ocean Avenue                     19 LEONA DRIVE
Eden Prairie, MN 55344               Ronkonkoma, NY 11779                  MIDDLEBOROUGH, MA 02346
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Santa Clara Systems                   Simplimatic Automation                 TRULY NOLEN
2060N. Loop Rd.                       1046 W. London Park Dr.                2082 33RD STREET
Alameda, CA 94502                     Forest, VA 24551                       ORLANDO, FL 32839




SCANLAB GmbH                          SMC CORPORATION OF AMERICA             TRUMPF
Siemensstr 2a                         10100 SMC Blvd                         47711 Clipper Street
Puchheim, Germany                     Noblesville, IN 46060                  Plymouth, MI 48170




SCHLEUNIGER                           Spring Tool Solutions                  TUV SUD America, Inc.
87 Colin Drive                        169 White Oak Drive                    401 Edgewater Place
Manchaster, NH 03103-4086             Berlin, CT 06037                        00018-8000




SEMINOLE METAL FINISHING              Strada Services, LLC                   Tykma, Inc.
967 Explorer Cove                     3400 Saint Johns Parkway               4420 Metric Drive, Suite A
Altamonte Springs, FL 32701           Sanford, FL 32771                      Winter Park, FL 32792




SendCutSend                           SunSource                              U.S. Plastics
129 Cleveland Drive                   2301 Windsor Court                     1390 Neubrecht Road
Paris, KY 40361                       Addison, IL 60101                      Lima, OH 45801




Senec Automation Components           TForce Freight                         ULINE
5600 Williams Lake Rd, Ste C          P.O. Box 1216                          P.O. Box 88741
Waterford, MI 48329                   Richmond, VA 23218-1216                Chicago, IL 60680-1741




Servometer                            Thor-Labs                              UPS
501 Little Falls Road                 43 Sparta Ave.                         P.O. Box 650116
Cedar Grove, NJ 07009                 Newton, NJ 07860                       Dallas, TX 75265-0116




Shibuya Hoppmann Corp. - VA           Tim Miller                             VELMEX
7849 Commermine Drive                 271 Forest Trail                       7550 State Route 5 and 20
Manassas, VA 20109                    Oviedo, FL 32765                       Bloomfield, NY 14469




SHINGLE & GIBB AUTOMATION             Total Plastics Inc.                    Veritas Recruiting Group LLC
6555 Powerline Rd.                    505 Busse Road                         1135 TownPark Ave.
Fort Lauderdale, FL 33309             Elk Grove Village, IL 60007            Lake Mary, FL 32746
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VERIZON
P.O. Box 4001
ACWIRTG, GA 30101




Waste Management
P.O. Box 105453
Atlanta, GA 30348




Winford Engineering
4561 Garfield Road
Auburn, MI 48611




XPO Logistics Freight. Inc
2211 Old Earhart Rd.
Ann Arbor, MI 48105
